Case 2:21-cv-00534-TS-JCB Document 85 Filed 09/22/22 PageID.705 Page 1 of 11




ROBERT G. WRIGHT [5363]
RAFAEL A. SEMINARIO [10250]
SEAN B. LEONARD [16638]
R IC H A R D S B R A N D T M I LL ER N EL S O N
111 East Broadway, Suite 400
P.O. Box 2465
Salt Lake City, Utah 84110-2465
robert-wright@rbmn.com
rafael-seminario@rbmn.com
sean-leonard@rbmn.com
Telephone: (801) 531-2000
Fax: (801) 532-5506

Attorneys for Defendants IHC Health Services, Inc. dba Utah Valley Hospital; and IHC Health
Services, Inc. dba Intermountain Medical Group


                          IN THE UNITED STATES DISTRICT COURT
                          DISTRICT OF UTAH, NORTHERN DIVISION


Sara Parada, individually, and as                 REPLY MEMORANDUM IN SUPPORT
parent/guardian acting for and in behalf of       OF MOTION FOR LEAVE TO FILE
D.P., a minor child,                              AMENDED PLEADING AND
                                                  CROSSCLAIM
         Plaintiff,
vs.

David Pennington, M.D.; Pennington                Case No. 2:21-cv-00534-TS-JCB
Medical Center PLLC dba Pennington
Women’s Center; IHC Health Services,              Judge Ted Stewart
Inc. dba Utah Valley Hospital; IHC Health         Magistrate Judge Jared C. Bennett
Services, Inc. dba Intermountain Medical
Group; United States of America; Scott R.
Jacob, M.D.; Valley Obstetrics &
Gynecology, P.C. dba Valley Women’s
Health; Sean J. Henderson, D.O.; Bradley
C. Burton, PA-C; Granger Medical Clinic,
P.C.; and Does I-X,

         Defendants.
Case 2:21-cv-00534-TS-JCB Document 85 Filed 09/22/22 PageID.706 Page 2 of 11




       Defendants IHC Health Services, Inc. dba Utah Valley Hospital and IHC Health

Services, Inc. dba Intermountain Medical Group (“IHC”), by and through counsel Robert

Wright, Rafael Seminario, and Sean Leonard of RICHARDS BRANDT MILLER NELSON, and

pursuant to and DUCivR 7-1, hereby submit this Reply Memorandum in support of their Motion

for Leave to File Amended Pleading and Crossclaim (“Motion to Amend”) 1, 2 .

                                      REPLY ARGUMENT

       IHC respectfully requests that this Court grant its Motion to Amend because the Motion

is timely, justified, without bad faith or dilatory motive, not unduly prejudicial, and not futile.

       “[A] party may amend its pleading with . . . the court’s leave. The court should freely

give leave when justice so requires.” Fed. R. Civ. P. 15(a)(2). Liberality is to be exercised in

allowing amendments of pleadings to achieve the ends of justice. See Gillespie v. United States

Steel Corp., 379 U.S. 148, 85 S. Ct. 308, 313, 13 L. Ed. 2d 199 (1964). When deciding whether

to grant leave to amend, courts apply a factor test and “may deny leave to amend only for

reasons such as undue delay, bad faith, or dilatory motive . . . undue prejudice to the opposing

party . . . or futility of the amendment. See Rains v. Westminster Coll., No. 2:20-CV-00520,

2022 WL 1224977 (D. Utah Apr. 26, 2022) (cleaned up).




1 The Pennington Defendants (David Pennington, M.D.; Pennington Medical Center, P.L.L.C. dba
Pennington Women’s Center) and the Urology Defendants (Sean J. Henderson, D.O.; Bradley C. Burton,
PA-C; and Granger Medical Clinic, P.C.) each filed their responses to IHC’s Motion to Amend on
September 8, 2022. See ECF Nos. 74-75. For ease of reference in this brief, Pennington Defendants are
referred to as “Pennington,” Urology Defendants are referred to as “Granger,” and Pennington and
Granger are collectively referred to as “Co-Defendants.”
2 Pursuant to DUCivR 15-1, a redlined version of the proposed amended pleading, comparing it with the

original pleading, is included here as Exhibit A.


                                                 –2–

     REPLY MEMORANDUM IN SUPPORT OF MOTION FOR LEAVE TO FILE AMENDED PLEADING AND
                                     CROSSCLAIM
Case 2:21-cv-00534-TS-JCB Document 85 Filed 09/22/22 PageID.707 Page 3 of 11




      1. IHC’s Motion to Amend is Timely and Justified

      Pennington says that IHC’s motion should be denied because IHC gave “no adequate

explanation for the delay” in filing the Motion to Amend. Pennington Opposition at 4. To justify

their position, Pennington cites Stone v. Simone, 610 F. App’x 751 (10th Cir. 2015) (applying

Wyoming law). There, a plaintiff sought to amend a complaint ten months after its original filing

and “offered no explanation whatsoever for his delay in filing the motion to amend.” Id. at 754-

55.

      The instant case differs from Stone v. Simone for at least two reasons. First, IHC is not a

plaintiff repositioning a complaint against defendants. Rather, it is a defendant reserving standing

to potentially apportion fault to co-defendants. Second, IHC did in fact offer a clear and adequate

reason for the delayed attempt to crossclaim. 3 As explained in the Motion to Amend,

apportionment of fault was not a critical issue until Co-Defendants filed motions for summary

judgment on August 24, 2022. See ECF Nos. 62, 63. Only then did a crossclaim become

absolutely necessary in the interests of justice.

      Co-Defendants helpfully cite numerous federal cases acknowledging IHC’s position that

“joint tortfeasor Co-Defendants [must] raise cross-claims against each other in the underlying

tort action or else such claims may be lost. Cross-claims for apportionment are mandatory.”

Corp. of Presiding Bishop of Church of Jesus Christ of Latter-Day Saints v. Queen Carpet

Corp., 5 F. Supp. 2d 1246, 1250 (D. Utah 1998) (quoting National Serv. Indus. v. B.W. Norton



3Consistent with spelling in Rule 13 of the Federal Rules of Civil Procedure, “crossclaim” is only
hyphenated in this brief when required for accuracy in a quotation.


                                                    –3–

       REPLY MEMORANDUM IN SUPPORT OF MOTION FOR LEAVE TO FILE AMENDED PLEADING AND
                                       CROSSCLAIM
Case 2:21-cv-00534-TS-JCB Document 85 Filed 09/22/22 PageID.708 Page 4 of 11




Mfg. Co., 937 P.2d 551, 556 (Utah App. 1997) abrogated on other grounds by Bylsma v. R.C.

Willey, 2017 UT 85, 416 P.3d 595 (hereinafter “National Service Industries”)).

   When the court in National Service Industries said that “[c]ross-claims for apportionment are

mandatory,” it did not necessarily mean mandatory at the outset of litigation. There, the court

reasoned that:

       By declaring apportionment claims mandatory in the underlying tort action, we
       do not mean that tortfeasor Co-Defendants must file cross-claims to have the
       other's fault determined in every case. Under the Act, the trier of fact must take
       other tortfeasor's culpability into consideration when making any damages
       awards, even if a cross-claim is not or could not be filed.
       …

       However, if the trial court rules as a matter of law that a codefendant bears no
       liability, then the fact-finder does not consider that party when apportioning
       fault. In circumstances such as here—where one codefendant moves for
       summary judgment against the plaintiff on the basis that it bears no
       liability—any other defendant must file an apportionment cross-claim in
       order to have standing to oppose the other codefendant's motion.

National Service Industries at n.2. (cleaned up) (emphasis added).

   Co-Defendants attempt to downplay this critical legal point by saying “it is highly unlikely”

that courts intended to promote the filing of crossclaims after motions for summary judgment

have been filed, and that “[t]here is good reason to believe” that courts “intended the cross-claim

to . . . be in place prior to the filing of another defendant’s motion for summary judgment.” See

Pennington Brief at n.4.

   Since Co-Defendants feel free to speculate about the court’s intentions, IHC counter-asserts

that it is also “highly unlikely” that courts intended every case with Co-Defendants to turn into a

no-holds-barred crossclaim shootout from the outset of litigation. IHC also has “good reason to



                                               –4–

     REPLY MEMORANDUM IN SUPPORT OF MOTION FOR LEAVE TO FILE AMENDED PLEADING AND
                                     CROSSCLAIM
Case 2:21-cv-00534-TS-JCB Document 85 Filed 09/22/22 PageID.709 Page 5 of 11




believe” that while it might have been tactically permissible to have filed the crossclaim earlier,

it was not procedurally required, nor did the facts necessarily call for such an action until it

became apparent that Co-Defendants might be dismissed from the case before apportionment

could be addressed.

       “[T]he logic of National Services is rooted in the essential principles of standing . . . and

has been repeatedly affirmed by this Court[.]” Howeth v. Aramark Corp., No. 2:10-CV-221 TS,

CM/ECF Doc. 115 at 6, n.17 (D. Utah June 14, 2011) (unpublished) (citing Milne v. USA

Cycling Inc., 489 F. Supp. 2d, 1283, 1285 n.3 (D. Utah 2007) (allowing co-defendant to oppose

another co-defendant’s motion for summary judgment because a crossclaim had been filed)).

       A Utah federal district court case, Berrios-Bones v. Nexidix, illustrates why IHC’s

Motion to Amend is justified for the purpose of preserving standing to apportion fault. No.

2:07CV193DAK, 2007 WL 3231549 (D. Utah Oct. 30, 2007). There, a defendant in an

investment and real estate fraud action asserted a crossclaim against all other defendants. Id. One

of the co-defendants attempted to dismiss the crossclaim, contending that defendant did not have

enough facts to state a legal claim. Id. The court reasoned that the “purpose for defendant’s

cross-claim is merely to preserve an apportionment of fault defense against other co-defendants.

In order to preserve such apportionment of fault against other co-defendants, a cross-claim is

required.” Id. The court then referenced National Service Industries and concluded that:

       [Defendants’] cross-claim is merely a procedural necessity required to preserve
       all defenses of apportionment of fault against other co-defendants in this case.
       Like the parties in National Service, if the co-defendants are successful in being
       dismissed from this case, defendant is required to have filed a cross-claim in order
       to attempt to apportion any appropriate fault to the [defendant] . . . Accordingly,
       the cross-claim is not improper [or] inappropriate . . . All that [defendant] needs to


                                                 –5–

     REPLY MEMORANDUM IN SUPPORT OF MOTION FOR LEAVE TO FILE AMENDED PLEADING AND
                                     CROSSCLAIM
Case 2:21-cv-00534-TS-JCB Document 85 Filed 09/22/22 PageID.710 Page 6 of 11




       demonstrate is that the other defendants may be at fault as well. The allegations of
       the complaint demonstrate a factual basis for that allegation.”

Id. (emphasis added).

       In other words, National Service Industries and its progeny, such as Berrios-Bones,

explain why IHC can and should be able to add a crossclaim. As mentioned in National Service

Industries, Co-Defendants have “move[d] for summary judgment against the plaintiff on the

basis that it bears no liability” and “any other defendant [namely IHC] must file an

apportionment cross-claim in order to have standing to oppose the other codefendant’s motion.”

And as in Berrios, the allegations in the pleadings [plus any supportive evidence gathered prior

to the November 1, 2022, close of fact discovery] demonstrate a sufficient “factual basis” for

showing that the “other defendants may be at fault as well.”

       To repeat—IHC is not seeking to amend a complaint so it can assert new causes of action

or new allegations against any party. In fact, it does not assert any causes of action against Co-

Defendants. IHC merely seeks to preserve the jury’s right to apportion fault to those Co-

Defendants, and mandatory case law indicates that adding a crossclaim to IHC’s answer is the

way to accomplish this.

   2. IHC Has Not Displayed Bad Faith or Dilatory Motive

   In suggesting that IHC had a dilatory motive, Co-Defendants strangely cite a case from

Virginia featuring a pro se plaintiff filing two separate motions to amend his complaint with two

additional causes of action in the week prior to the close of fact discovery. See Pennington Brief

at 8, citing Agbaje v. Hargrave Mil. Acad., 328 F. Supp. 3d 539, 544 (W.D. Va. 2018). The

Agbaje plaintiff was “disinterested in his case until the last minute.” Id. at 545.


                                                 –6–

     REPLY MEMORANDUM IN SUPPORT OF MOTION FOR LEAVE TO FILE AMENDED PLEADING AND
                                     CROSSCLAIM
Case 2:21-cv-00534-TS-JCB Document 85 Filed 09/22/22 PageID.711 Page 7 of 11




   The Agbaje case differs from this case for at least four reasons. First, IHC is a co-

defendant—it is not a plaintiff. Second, IHC is represented by competent counsel—it is not pro

se. Third, IHC is filing a single motion to amend its answer by adding a crossclaim to preserve

standing—it is not filing two separate motions to amend a complaint with additional causes of

action. And fourth, IHC is seeking leave to amend over two months before the close of fact

discovery—it is not seeking leave to amend during the “waning hours of discovery,” which in

Agbaje was one day before the close of fact discovery.

   Other cases cited by Pennington suffer from similar flaws. See Pennington Brief at 9. Each

case refers to plaintiffs making last-ditch attempts to salvage their cases by amending their

complaints with new allegations and causes of action. Here, IHC simply requests to timely

preserve standing for apportionment to Co-Defendants by the only procedural means recognized

by mandatory case law.

   3. The Motion to Amend is Not Unduly Prejudicial

   In contending that the Motion to Amend is unduly prejudicial, Pennington points out that for

over a year, all defendants have “operated under the belief that they were on the same ‘side’ of

the case[.]” Pennington Brief at 10.

   That was and still is true. All co-defendants are still on the same “side” of the case--

positioned across from the plaintiff. Now Co-Defendants, with the consent of Plaintiff, wish to

drop out and leave IHC as the only remaining Defendant for all potential liability. This could

unjustly impact IHC, especially where so many factual allegations point toward Co-Defendants’

involvement in the case.



                                               –7–

     REPLY MEMORANDUM IN SUPPORT OF MOTION FOR LEAVE TO FILE AMENDED PLEADING AND
                                     CROSSCLAIM
Case 2:21-cv-00534-TS-JCB Document 85 Filed 09/22/22 PageID.712 Page 8 of 11




   IHC should have the right, without pressing any direct claims against Co-Defendants, to

point out to a jury the extent to which Co-Defendants played a role in the case. And the jury

should have the opportunity to apportion fault accordingly. To prematurely grant summary

judgment and dismiss Co-Defendants from the case would deprive IHC and the jury of that

opportunity.

   Given that all parties have had a full year to develop their cases, and IHC is not proposing

any new causes of action against Co-Defendants, the established scheduling order may still be

adequate. If not, this Court may still timely address any concern.

   Motions to amend are to be granted liberally in the interests of justice, not denied stingily in

the interest of strict adherence to a rigid timetable despite intervening developments. Granting

IHC’s Motion to Amend would merely leave Co-Defendants in the same position they were on

August 23, 2022—one day before they filed their motions for summary judgment. Being restored

to their position of four weeks ago is not unduly prejudicial.

   4. The Motion to Amend is Not Futile

   Granger asserts that IHC’s proposed amendment would be futile based on a 1960 Utah

Supreme Court opinion, Dupler v. Yates, 10 Utah 2d 251, 351 P.2d 624 (1960), addressing

claims for “alleged fraud and deceit and breach of a fiduciary relationship.” Id. at 626; Granger

Brief at 11.

   Here, as discussed above, the Motion to Amend is not futile because mandatory authority

allows Co-Defendants in a negligence action to amend pleadings and assert crossclaims against




                                                –8–

     REPLY MEMORANDUM IN SUPPORT OF MOTION FOR LEAVE TO FILE AMENDED PLEADING AND
                                     CROSSCLAIM
Case 2:21-cv-00534-TS-JCB Document 85 Filed 09/22/22 PageID.713 Page 9 of 11




each other to preserve standing for apportioning fault. This Court has the power to grant IHC’s

Motion to Amend.

                                        CONCLUSION

       For the reasons stated herein, and in the Motion to Amend, IHC respectfully requests the

Court to grant its Motion to Amend.



        Dated this 22nd day of September, 2022.

                                                 RICHARDS BRANDT MILLER NELSON


                                                 /s/ Rafael A. Seminario
                                                 Robert G. Wright
                                                 Rafael A. Seminario
                                                 Sean B. Leonard
                                                 Attorneys for Defendants IHC Health Services,
                                                 Inc. dba Utah Valley Hospital; and IHC Health
                                                 Services, Inc. dba Intermountain Medical Group




                                              –9–

     REPLY MEMORANDUM IN SUPPORT OF MOTION FOR LEAVE TO FILE AMENDED PLEADING AND
                                     CROSSCLAIM
Case 2:21-cv-00534-TS-JCB Document 85 Filed 09/22/22 PageID.714 Page 10 of 11




                             CERTIFICATE OF SERVICE

    I HEREBY CERTIFY that on the 22nd day of September, 2022, I served the foregoing
REPLY MEMORANDUM IN SUPPORT OF MOTION FOR LEAVE TO FILE
AMENDED PLEADING AND CROSSCLAIM on the persons identified below as indicated:

       G. Eric Nielson                                   U.S. Mail – Postage Prepaid
       Marianne P. Card                                  Hand Delivery
       G. ERIC NIELSON & ASSOCIATES                      Electronic Filing
       4790 South Holladay Blvd.                         Email
       Salt Lake City, UT 84117
       ericnielson@ericnielson.com
       mariannecard@ericnielson.com
       dawnr@ericnielson.com
       Attorneys for Plaintiff

       Stephen W. Owens                                  U.S. Mail – Postage Prepaid
       James T. Egan                                     Hand Delivery
       Nourin N. Abourahma                               Electronic Filing
       EPPERSON & OWENS, P.C.                            Email
       10 West 100 South, Suite 500
       Salt Lake City, UT 84101
       sowens@eolawoffice.com
       jegan@eolawoffice.com
       nabourahma@eolawoffice.com
       jhampton@eolawoffice.com
       Attorneys for Defendants Sean J. Henderson,
       DO, Bradley C. Burton, PA-C, and Granger
       Medical Clinic, PC

       Jaryl L. Rencher                                  U.S. Mail – Postage Prepaid
       Benjamin K. Lusty                                 Hand Delivery
       RENCHER ANJEWIERDEN                               Electronic Filing
       460 South 400 East                                Email
       Salt Lake City, UT 84111
       jaryl@lawfirmra.com
       ben@lawfirmra.com
       Attorneys for Defendants Scott Jacob, MD
       and Valley Obstetrics & Gynecology, PC dba
       Valley Women’s Health




                                          – 10 –

    REPLY MEMORANDUM IN SUPPORT OF MOTION FOR LEAVE TO FILE AMENDED PLEADING AND
                                    CROSSCLAIM
Case 2:21-cv-00534-TS-JCB Document 85 Filed 09/22/22 PageID.715 Page 11 of 11




         Dave Ference                                              U.S. Mail – Postage Prepaid
         Derek Williams                                            Hand Delivery
         Jacob Nelson                                              Electronic Filing
         CAMPBELL, WILLIAMS, FERENCE & HALL                        Email
         3920 South 1100 East #250
         Millcreek, UT 84124
         dave@cwfhlaw.com
         derek@cwfhlaw.com
         jacob@cwfhlaw.com
         nbowcutt@cwfhlaw.com
         Attorneys for Defendants David Pennington,
         MD and Pennington Medical Center, PLLC
         dba Pennington Woman’s Center

         Andrea T. Martinez, Acting US Attorney                    U.S. Mail – Postage Prepaid
         Jeffrey E. Nelson                                         Hand Delivery
         Amanda A. Berndt                                          Electronic Filing
         Attorneys for the United States of America                Email
         111 South Main Street, Suite 1800
         Salt Lake City, UT 84111
         Jeff.nelson@usdoj.gov
         Amanda.berndt@usdoj.gov
         Attorneys for Defendant United States of
         America



                                                      /s/ Rafael A. Seminario


G:\EDSI\DOCS\09355\1660\1DV1176.DOCX




                                             – 11 –

     REPLY MEMORANDUM IN SUPPORT OF MOTION FOR LEAVE TO FILE AMENDED PLEADING AND
                                     CROSSCLAIM
